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         March 7, 2024


         VIA ECF
         Honorable Nusrat J. Choudhury
         United States District Judge
         Eastern District of New York
         100 Federal Plaza
         Central Islip, NY 11722

         Re: Central American Refugee Ctr., et al. v. Nassau County, et al., Docket No. 2:23-CV-
             05412-NJC-ALR

         Dear Judge Choudhury:

         Pursuant to your January 25, 2024 Order, Plaintiffs respectfully submit their Second Amended
         Complaint in the above-captioned action. A redline showing changes from the prior pleading is
         attached for reference.

         Given that Defendants have already served a motion to dismiss the prior pleading, Plaintiffs
         propose a new briefing schedule that observes timing similar to the schedule from your January
         25, 2024 order:

               •     Defendants’ Answer or Motion to Dismiss due April 4, 2024 (four weeks following
                     amended complaint)
               •     Plaintiffs’ Opposition to the Motion to Dismiss due May 2, 2024 (four weeks following
                     motion)
               •     Defendants’ Reply in support of the Motion due May 16, 2024 (two weeks following
                     opposition


         Respectfully Submitted,

         /s May Chiang

         May Chiang



         cc:       All Counsel of Record (by ECF)
